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AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
             CARLOS VILLAMIZAR
                      (Defendant’s Name)                                  Criminal Number: 2:01CR00288 02


                                                                          HAYES GABLE, III, ESQ.
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U]      adm itted guilt to violation of charge 1 as alleged in the violation petition filed on 09/26/2005 .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation:

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
1                                    NEW LAW VIOLATION - POSSESSION OF A                     08/11/2005
                                     CONTROLLED SUBSTANCE




The court: [U] revokes supervision heretofore ordered on 03/12/2003 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.




        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                              02/08/2007
                                                                                    Date of Im position of Sentence


                                                                                           /s/ David F. Levi
                                                                                      Signature of Judicial Officer


                                                                         HON. DAVID F. LEVI, United States District Judge
                                                                                Nam e & Title of Judicial Officer


                                                                                                 02/15/2007
                                                                                                    Date
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:01CR00288 02                                                                  Judgment - Page 2 of 2
DEFENDANT:                 CARLOS VILLAMIZAR



                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of 21 MONTHS .

NO SUPERVISION TO FOLLOW .




[U]      The court m akes the following recom m endations to the Bureau of Prisons:
         The Court recom m ends that the defendant be incarcerated at the Term inal Island, California facility, but only
         insofar as this accords with security classification and space availability.


[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                                        By
                                                                                                  Deputy U.S. Marshal
